                                       
                                       
                               Court of Appeals
                       Sixth Appellate District of Texas
                                       
                                       
                                   JUDGMENT
                                       
                                       
                                       
Jeffery Charles Green, Appellant
No. 06-12-00074-CR	v.
The State of Texas, Appellee

Appeal from the 71st District Court of Harrison County, Texas (Tr. Ct. No. 10-0400X).  Opinion delivered by Chief Justice Morriss, Justice Carter and Justice Moseley participating.



As stated in the Court's opinion of this date, we find no error in the judgment of the court below.  We affirm the judgment of the trial court.
We note that the appellant, Jeffery Charles Green, has adequately indicated his inability to pay costs of appeal.  Therefore, we waive payment of costs.

RENDERED JANUARY 4, 2013
BY ORDER OF THE COURT
JOSH R. MORRISS, III
CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
